Debtor(s):           Samantha R. Smith                                                                          Case Number:         18-11088




United States Bankruptcy Court for the Western District of Louisiana: Shreveport                    Division


 Chapter 13 Plan - Western District of Louisiana


      Check here if this is a modified plan.

  ✔   Check here if this is an amended plan.

       List below the sections that have been changed.                                                   Reason for Amendment/Modification

  2.1, 3.1, 3.2, 4.3, 5.1, 8.1                                                          Resolve Trustee's objection to budget by increasing payment; provide
                                                                                        for home mortgage arrears to SPS pursuant to proof of claim; provide
                                                                                        for JPMorgan Chase secured claim pursuant to proof of claim, and
                                                                                        provide adequate protection; provide for administrative claim for
                                                                                        noticing


Part 1:      Notices

To Debtors:      This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                 indicate that the option is appropriate in your circumstances or that it is permissible in your judicial division. Plans that do
                 not comply with local rules and judicial rulings may not be confirmable.

                 In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                 You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                 attorney, you may wish to consult one.

                 If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation
                 at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy
                 Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you
                 may need to file a timely proof of claim in order to be paid under any plan.

                 The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                 includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision will
                 be ineffective if set out later in the plan.

1.1 This Plan sets out Nonstandard Provisions in Part 9.
                                                                                                                             Included       ✔    Not Included

1.2 This Plan limits the amount of Secured Claims in 3.1 and/or 3.2 based on a Valuation of the
    Collateral for the claim.                                                                                        ✔       Included            Not Included

1.3 This Plan avoids a Security Interest or Lien in Section 3.4.
                                                                                                                             Included       ✔    Not Included

1.4 This Plan cures or maintains a loan secured by the Debtor's Principal Residence in 3.1.
                                                                                                                     ✔       Included            Not Included

1.5 This Plan provides for the treatment of a Domestic Support Obligation in 4.3 and/or 4.4.
                                                                                                                             Included       ✔    Not Included

1.6 This plan includes a claim that was either: (1) incurred within 910 days before the petition date and
    secured by a purchase money security interest in a motor vehicle acquired for the personal use of
                                                                                                                             Included       ✔    Not Included
    the debtor(s); or (2) incurred within 1 year of the petition date and secured by a purchase money
    security interest in any other thing of value in 3.3.




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Part 2:       Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments for a total of 60            months to the trustee as follows:

       If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
       payments to creditors specified in this plan.


        ✔            Original Plans.             $        853.00          per             month             for      3        months, and

        $                1,025.00               per       month           for               57             months.




                     Modified Plans.             $                        has been paid in for the first   months; then

        $                                       per                       for                              months, and


        $                                       per                       for                              months.




       Check one: The applicable commitment period is:             36 months (Below Median Income)

                                                                   60 months (Above Median Income)             ✔



2.2    Regular payments to the trustee will be made from future income in the following manner:

             Debtor(s) will make payments pursuant to a payroll deduction unless otherwise excused by the Chapter 13 Trustee or the Bankruptcy Court.

       Income tax refunds. During the pendency of this case debtor(s) shall file both Federal and State Income Tax Returns timely and provide copies of
       same to the Standing Chapter 13 Trustee immediately upon filing of each annual return.

       Debtor(s) will pledge income tax refunds as follows:

      Debtor pledges tax refunds (except for Earned Income Credit, Child Tax Credit, and $1,000.00 per year)




2.3 Additional Payments. (In addition to 2.1 above)
       Check one.

       ✔ None. If “none” is checked, the rest of § 2.3 need not be completed or reproduced.


Part 3: Treatment of Secured Claims

3.1 A.      Maintenance of payments and cure of default of Principal Residence under 1322(b)(3), including post-petition default payments, if any.

      Check one.
            None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.




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       The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by the applicable
       contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or directly by the debtor, as
       specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated.
       Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over
     ✔
       any contrary amounts listed below as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the
       amounts stated below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
       otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no
       longer be treated by the plan.


                                                              Current Installment                     Pre-Petition                Current Monthly
                                  Description of
    Name of Creditor                                          Payment                                 Amount of                   Payment
                                  Collateral
                                                              (including escrow)                      Arrearage, if any           Begins
                                  House & Lot, 3521
    Select Portfolio Service      Dewberry Dr.                 $ 443.43                               $ 1,389.63                  August 1, 2018

                                                              Disbursed by:

                                                               ✔ Trustee

                                                                   Debtor(s)

                                                                   Third Party - Name & Relationship to Debtor(s)




         The trustee shall pay post-petition default payments for mortgage payments in the following amounts and coming due during the months itemized.

                                                               Current Installment                    Specified
                                  Description of                                                                                  Post Petition
    Name of Creditor                                           Payment                                Months for
                                  Collateral                                                                                      total Unpaid
                                                               (including escrow)                     Default


                                                               $                                                                  $



    B.   Maintenance of payments and cure of default other than Principal Residence under 1322(b)(3), including post-petition default payments, if
         any.
    Check one.

     ✔ None. If "None" is checked, the rest of § 3.1 need not be completed or reproduced.

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

    Check one.

         None. If "None" is checked, the rest of § 3.2 need not be completed or reproduced.




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    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

       The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim listed below,
       the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured claim. For secured claims of
       governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with the
       Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest
       at the rate stated below. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered
       by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
     ✔ treated by the plan.
          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the
          amount of a creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety as an unsecured
          claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor's total claim listed on the proof of claim controls
          over any contrary amounts listed in this paragraph.
          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest of the
          debtor(s) or the estate(s) until the earlier of:

          (a) payment of the underlying debt determined under nonbankruptcy law, or (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which
          time the lien will terminate and be released by the creditor. See Bankruptcy Rule 3015.

                                Estimated                                                                                                       Estimated avg.
                                Amount of                Collateral               Value of                    Amount of          Interest       monthly
    Name of Creditor
                                Creditor's total         Description              Collateral                  Secured Claim      Rate           payment to
                                Claim                                                                                                           creditor

     JPMorgan Chase Bank
     NA                         $ 23,157.02              2016 Toyota Camry        $ 16,050.00                 $16,050.00                    7 % $ 317.81


3.3 Secured claims excluded from 11 U.S.C. § 506. (11 U.S.C. §1325(a) - 910 day Car Claim or 365 day Personal Property)

    Check one.

     ✔ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
3.4 Lien Avoidance

     Check one.

      ✔ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
     Check one.
          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:      Treatment of Fees and Priority Claims

4.1 General
    Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.4, will be paid in full without post-
    petition interest.

4.2 Administrative fees
    Counsel elects the standing order "no look" fee.       Yes ✔            No

     Trustee's fees are governed by statute and may change during the course of the case but are estimated to be ten percent of plan payments.

     The debtor(s) attorney is awarded a fee in the amount of $ 3,600.00           of which $ 3,600.00       is due and payable from the bankruptcy estate.
     Included in this amount is a fee in the amount of $                   for the modification. Fees are limited to the appropriate "No Look" fee amount or the
     allowed amount subject to a formal fee application.




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4.3 Priority claims other then attorney's fees and those treated in § 4.4.
    Check one.

         None. If “None” is checked, the rest of §4.3 need not be completed or reproduced.
     ✔ The debtor estimates the total amount of other priority claims to be as follows:

    Domestic Support Obligations prepetition arrears other than those provided in 4.4 below shall be disbursed by the Trustee.


    Claimant                                                 Nature of Claim                               Amount



                                                                                                           $



     Ongoing Domestic Support Obligations shall be disbursed by debtor.
     All other unsecured priority claims including tax claims shall be disbursed by trustee as follows:

     Claimant                                                Nature of Claim                               Amount



     Alexander & Chandler APLC                           Reimbursement for noticing costs                  $250.00


4.4 Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
    Check one.
     ✔ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.


Part 5: Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. Unscheduled nonpriority unsecured debts to which a timely
    proof of claim is filed will be allowed, unless objected to. All non-priority debts on schedule E/F, and unsecured and undersecured debts on schedule D, are
    incorporated herein by reference.
    Based upon the scheduled unsecured and undersecured claims in the amount of $ 97,414.94                , it is anticipated unsecured creditors will be paid
    approximately $ 5,801.14         , which is approximately      6      percent of their respective claims. However, the amount paid on any claim may
    vary depending on the actual filed and allowed claims.


    If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid no less than $ 500.00            .
    Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2 Other separately classified nonpriority unsecured claims.
    Check one.

     ✔ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


Part 6: Executory Contracts, Unexpired Leases, and Unmodified Secured Debts paid per contract

6.1 The executory contracts, unexpired leases, and Unmodified Secured Debts paid per contract listed here are assumed and will be treated as
    specified. All other executory contracts and unexpired leases are rejected.
     Check one.

      ✔ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.


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Part 7:      Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon entry of discharge or dismissal.


Part 8:      Other Plan Provisions

8.1 Adequate Protection Payments:
     Debtor(s) shall pay adequate protection payments and/or lease payments as scheduled below to the trustee. If the case is dismissed pre-
     confirmation the trustee shall disburse these adequate protection payments to the creditor, one for each plan payment received while the case
     was pending.


     Creditor                                                      Adequate Protection Payment



     JP Morgan Chase Bank NA                                       $160.50


8.2 Changed Circumstances.

    Debtor(s) shall fully and timely disclose to the trustee any change in income, marital status, domestic support obligation, employment, address,
    or financial recovery to which debtor(s) become entitled, including without limitation, claims for personal injury, employment, worker's
    compensation, unemployment compensation, inheritance, life insurance, lottery proceeds, or property settlements. These funds shall be treated
    upon motion by trustee, debtor(s), or any party in interest.


Part 9:      Nonstandard Plan Provisions

     ✔ None. If "None” is checked, the rest of Part 9 need not be completed or reproduced.



Part 10:      Signatures




    /s/ Kenneth A. Chandler                                                            Date: October 25, 2018
    Signature of Attorney for Debtor(s)




                                                                                       Date:
    Debtor




                                                                                        Date:

   Joint Debtor




Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this Chapter 13 Plan are identical to those contained in Official Chapter 13 Plan Form for the
Western District of Louisiana, other than any nonstandard provisions included in Part 9.




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